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   9

  10
                             UNITED STATES DISTRICT COURT
  11
                          NORTHERN DISTRICT OF CALIFORNIA
  12

  13
       PATRICK JOSEPH NEIMS,                    Case No. 5:23-cv-00716-PA (SHKx)
  14   individually and on behalf of all
       others similarly situated,               SURREPLY TO MOTION TO
  15
                                                COMPEL ARBITRATION
  16                Plaintiff,
                                                Date:      July 24, 2023
  17
             vs.                                Time:      1:30 p.m.
  18                                            Courtroom: 9A
       NEOVIA LOGISTICS
  19   DISTRIBUTION, LP; NEOVIA
       LOGISTICS SERVICES, LLC; and
  20   DOES 1 through 20, inclusive,
  21                Defendants.
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   1    I.   INTRODUCTION
   2         Defendants Neovia Logistics Distribution, LP and Neovia Logistics Services,
   3   LLC (“Defendants”) cannot compel arbitration of this dispute under the FAA
   4   because Plaintiff Patrick Joseph Neims (“Plaintiff”) is a transportation worker.
   5   Nevertheless, Defendants contend that Plaintiff’s claims are arbitrable under
   6   California law despite their unlawful class action waiver and even though Plaintiff’s
   7   claims seek to enforce the nonpayment of wages under Article 1 of the Labor Code.
   8   However, California law is clear that Defendants’ Motion must be denied in its
   9   entirety.
  10   II.   PLAINTIFF IS TRANSPORTATION WORKER EXEMPT FROM
  11         THE FAA
  12               A. Defendants’ Arbitration Agreement is a Contract of Employment
  13         Defendants attempt to argue that their arbitration agreement is not a “contract
  14   of employment” because it is a standalone agreement not part of an employment
  15   contract. See Docket No. 29 (“Reply”) at 2:16-3.:13. In New Prime, Inc. v. Oliveira,
  16   the Supreme Court recognized that “contracts of employment” not only include
  17   “contracts that reflect an employer-employee relationship,” but also contracts for
  18   services of independent contractors. 139 S.Ct. 532, 539 (2019) (emphasis added).
  19   In other words, “contracts of employment” are not simply limited to employment
  20   contracts. Id.
  21         Here, the arbitration agreement is a contract made between an employee and
  22   an employer (i.e., reflecting an employer-employee relationship) purporting to
  23   establish procedures for “all legal disputes and claims between them” including “all
  24   claims pertaining to Individual’s employment or other relationship with the
  25   Company[.]” See Declaration of Arturo Ramirez in Support of Motion to Compel
  26   Arbitration, Dismiss Class and Representative Claims, and Stay Proceedings
  27   (“Ramirez Decl.”) at ¶ 7, Exhibit 1. It was even presented to Plaintiff with his offer
  28   letter, which Defendants themselves concede “sets forth the general terms and
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   1   conditions of the offer of employment.” Id. at ¶ 5. The offer letter itself expressly
   2   states that, “as a condition of your employment, you will be required to review and
   3   execute a Mutual Arbitration Agreement.” Id. at ¶ 7, Exhibit 1 (emphasis added).
   4   How could a contract which expressly made Plaintiff’s employment consideration
   5   for its formation not constitute a contract of employment?
   6         Contrary to Defendants’ boilerplate assertion to the contrary, there are cases
   7   “holding that a standalone arbitration agreement is a ‘contract of employment.’”
   8   See Docket No. 29 (“Reply”) at 3:3-4. In fact, the argument Defendants advance
   9   here was rejected in Abram v. C.R. England, Inc., where the plaintiff signed a
  10   standalone arbitration agreement that covered “a broad range of claims, including
  11   employment-related disputes.” 2020 WL 5077365, at *3 (C.D. Cal. Apr. 15, 2020).
  12   The court was “not persuaded that the Arbitration Agreement is not part of the
  13   Parties’ comprehensive ‘contract of employment.’” Id. The court also explained the
  14   ramifications of Defendants’ argument: “An otherwise covered employer could
  15   circumvent section one by simply presenting employees with a contract outlining
  16   all terms and conditions of employment, followed by a separate arbitration
  17   agreement, even if that agreement compels arbitration of employment disputes.
  18   Congress could not have intended covered employers to avoid the exclusion so
  19   easily.” Id. at *4. Relying on Abram, the court in Gabay v. Roadway Movers, Inc.
  20   reached the same conclusion. --- F.Supp.3d ----, 2023 WL 3144310, at *6-7
  21   (S.D.N.Y. Apr. 28, 2023) appeal filed No. 23-757 (May 3, 2023).
  22            B. Plaintiff is a Transportation Worker Who Moved Goods in the
  23               Stream of Interstate Commerce
  24         In direct contravention of binding U.S. Supreme Court precedent, Defendants
  25   summarily state that Plaintiff cannot meet the transportation worker exception
  26   because he did not cross borders himself. Reply at 3:14-20. In Southwest Airlines
  27   Co. v. Saxon, the Supreme Court held that airline cargo loaders were engaged in
  28   interstate commerce “when they handle[d] goods traveling in interstate and foreign
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   1   commerce, either to load them for air travel or unload them when they arrive.” 142
   2   S.Ct. 1783, 1792 (2022). In doing so, the Court rejected the same argument
   3   Defendants make here that the transportation worker exception only applies to
   4   workers who physically cross state lines themselves. Id. at 1784.
   5         Defendants do not dispute that Plaintiff “handle[d] goods traveling in
   6   interstate and foreign commerce.” Id. at 1789-90. Defendants readily admitted that
   7   their “core services” are the transportation of goods in interstate commerce:
   8   “Neovia is a third-party logistics company based out of Irvine, Texas. Neovia
   9   operates more than 100 facilities in over 20 countries across six continents. The
  10   core services Neovia provides are the distribution of service parts to dealers,
  11   intermediaries and end-customers, delivery of individual manufacturing parts or
  12   sub-assemblies direct to their manufacturing point of use, and the distribution of
  13   finished goods.” Martinez Decl. at ¶ 3. Even on reply, Defendant confirmed that
  14   Plaintiff’s entire job was “loading goods into shipping trucks and unloading goods
  15   from shipping trucks within the Ontario warehouse.” Docket No. 29-1,
  16   Supplemental Declaration of Arturo Martinez (“Supp. Martinez Decl.”) at ¶ 6.
  17         If “airplane cargo loaders plainly perform ‘activities within the flow of
  18   interstate commerce’ when they handle goods traveling in interstate and foreign
  19   commerce,” Saxon, 142 S.Ct. at 1792, then the same is true for Plaintiff, who loads
  20   and unloads goods directly on and off delivery trucks headed out of the state or
  21   country for a company whose sole purpose is the delivery and transportation of
  22   goods through its more than 100 facilities in over 20 countries across six continents.
  23   See Fraga v. Premium Retail Servs., 61 F.4th 228, 235 (1st Cir. 2023) (“Saxon’s
  24   repeated and emphasized command to focus on what the workers themselves
  25   actually do strongly suggests that workers who do transportation work are
  26   transportation workers.”).
  27   ///
  28   ///
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   1   III.   THE ARBITRATION AGREEMENT IS NOT ENFORCEABLE
   2          UNDER CALIFORNIA LAW
   3             A. The Class Action Waiver is Invalid Under Gentry
   4          Plaintiff has provided sufficient evidence showing that the Gentry factors are
   5   met in this matter.
   6                1. Plaintiff’s Potential Individual Recovery is Modest
   7          Plaintiff’s potential individual recovery is $16,077.63. See Docket No. 28-1,
   8   Declaration of Patrick Joseph Neims (“Neims Decl.”) at ¶ 7. This is a modest
   9   amount sufficient to meet the first Gentry factor. See Canava v. Rail Delivery
  10   Service, Inc., 2020 WL 2510648, at *5 (C.D. Cal. 2020) (finding a potential
  11   recovery of $27,000 to be “modest” within the meaning of Gentry); Bell v. Farmers
  12   Ins. Exch., 115 Cal.App.4th 715, 745 (2004) (“claims as large as $37,000”
  13   sufficiently modest to meet the first Gentry factor); Muro v. Cornerstone Staffing
  14   Sols., Inc., 20 Cal.App.5th 784, 793 (2018) (first Gentry factor met where
  15   “maximum individual recovery would be less than $26,000.”).
  16          Defendants attempt to take issue with this estimate by arguing that it should
  17   include individual PAGA penalties, the value of injunctive relief, pre-judgment
  18   interest, and attorneys’ fees. Reply at 6:18-23. Unsurprisingly, Defendants fail to
  19   cite any law or provide any evidence that the theoretical value of any of these items
  20   is appropriately included in considering the first Gentry factor. Nor would inclusion
  21   of attorneys’ fees or injunctive relief make any sense, as those are not amounts that
  22   Plaintiff himself receives in recovery if he is successful on all his claims. In fact,
  23   Plaintiff’s attorneys are ethically prohibited from sharing their fees with him. See
  24   California Rules of Professional Conduct, Rule 5.4(a) (“A lawyer or law firm shall
  25   not share legal fees directly or indirectly with a nonlawyer . . .”).
  26          Defendants also stack seven different types of PAGA penalties at $100 per
  27   pay period and ask the Court to attribute the entire amount to Plaintiff. As an initial
  28   matter, PAGA is not a class action claim. Arias v. Superior Court, 46 Cal.4th 969
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   1   (2009). Defendants’ insistence on including it in the calculation of Plaintiff’s
   2   recovery under the Gentry factors is without legal support.
   3         Further, Defendants’ calculation of the PAGA penalties is incorrect. First,
   4   Plaintiff’s declaration avers that he could not have worked more than 45 pay
   5   periods. Assuming $700 per pay period would amount to $31,500, not $45,000 as
   6   Defendants contend. Second, Plaintiff cannot recover 100% of penalties under
   7   PAGA. Reply at 7:5-8. Rather, “[o]f the civil penalties recovered, 75 percent goes
   8   to the Labor and Workforce Development Agency, leaving the remaining 25
   9   percent for the ‘aggrieved employees.’” Arias v. Superior Court, 46 Cal.4th 969,
  10   980-81 (2009). Even if the Court added 25% of the maximum amount of PAGA
  11   penalties ($7,875.00) to Plaintiff’s estimate of his potential individual recovery, it
  12   would amount to $23,952.63, which is still a modest recovery. See Bell, 115
  13   Cal.App.4th at 745. Even the addition of 10% of the total amount ($2,395.26) as
  14   pre-judgment interest would not change the fact that Plaintiff’s potential recovery is
  15   modest under Gentry.
  16         Defendants attempt to rely on Arguelles-Romero v. Superior Court, 184
  17   Cal.App.4th 825, 844 (2010) for the proposition that $16,000 is not a modest
  18   recovery. But as the Muro court explained, Arguelles-Romero conflicts with the
  19   much higher amounts discussed in Bell, 115 Cal.App.4th at 715, n. 5. Muro, 20
  20   Cal.App.4th at 793. “More important, the cited comment by the Arguelles-Romero
  21   court was part of its discussion of whether the class waiver provision was invalid as
  22   unconscionable under Discover Bank v. Superior Court (2005) 36 Cal.4th 148, 30
  23   Cal.Rptr.3d 76, 113 P.3d 1100, and not whether, under Gentry, ‘a class arbitration
  24   (or action) is a significantly more effective practical means of vindicating
  25   unwaivable statutory rights, which is a discretionary determination subject to abuse
  26   of discretion review.’” Id.
  27         Here, Plaintiff has submitted evidence and cited to case law demonstrating
  28   that the potential recovery here is “modest” within the meaning of Gentry, and
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   1   Defendants have failed to provide evidence or case law disputing that. Even
   2   Defendants’ own valuation of the maximum amount in controversy for this class
   3   action shows that the potential individual recovery is modest. Specifically, in its
   4   Notice of Removal, Defendants estimated that the maximum amount in controversy
   5   for Plaintiffs’ claims was $9,034,975.20. See Docket No. 1 at ¶ 37. With at least
   6   1,878 employees in the putative class, see id. at ¶ 17, the potential individual
   7   recovery for each class member on average is just $4,810.96. Therefore, the first
   8   Gentry factor weighs against enforcing the class action waiver.
   9                2. Plaintiff’s Declared that He Feared Potential Retaliation While
  10                   Employed by Defendants
  11         Plaintiff submitted a declaration stating that he feared retaliation. See Neims
  12   Decl. at ¶ 5. Courts have found similar declarations sufficient to meet the second
  13   prong of the Gentry test. See Muro, 20 Cal.App.5th at 794 (second factor was
  14   satisfied where “Muro’s expression of his own concerns about retaliation provided
  15   a sufficient basis for the court, as the finder of fact, to draw the reasonable inference
  16   that other similar situated drivers shared those same concerns.”); Garrido v. Air
  17   Liquide Industrial U.S. LP, 241 Cal.App.4th 833, 846 (2015) (second factor was
  18   satisfied where “Garrido stated that, had he known his statutory rights were being
  19   violated during his employment at Air Liquide, he would not have been willing to
  20   bring a lawsuit because of fear of retaliation by Air Liquide.”); Franco v. Athens
  21   Disposal Co., Inc., 171 Cal.App.4th 1277, 1296 (2009) (second factor was satisfied
  22   where plaintiff declared he felt he would be fired if he complained).
  23         Defendants argue that Plaintiff’s declaration is insufficient because he was a
  24   former employee when he signed it. Reply at 7:14-22. As the court in Canava
  25   explained in rejecting the same argument, “that fact only underscores Plaintiff’s
  26   assertion that the fear of retribution forced him to wait until he was no longer
  27   employed to bring a lawsuit. The former employees’ ‘expression of [their] own
  28   concerns about retaliation provide[s] a sufficient basis . . . to draw the reasonable
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   1   inference that other similarly situated [current] drivers shared those same
   2   concerns.’” Canava, 2020 WL 2510648 at *5 (citations omitted); see also Franco,
   3   171 Cal.App.4th at 1296 (“Of course, Franco is no longer working at Athens. But
   4   that simply strengthens his status as the representative in a class action or class
   5   arbitration because it is reasonably presumed potential class members still
   6   employed by [the] employer might be unwilling to sue individually or join a suit for
   7   fear of retaliation at their jobs.”) (internal quotations omitted).
   8         Defendants also argue their company policies prove that retaliation is an
   9   impossibility. Reply at 7:23-8:8. However, it is not simply the potential for
  10   retaliation that courts must consider, but the fear of potential retaliation. Gentry v.
  11   Superior Court, 42 Cal.4th 443, 460-61 (2008). In Gentry, the defendant argued
  12   that there was no potential for retaliation because Labor Code § 96.8 made it
  13   unlawful. Id. at 461. The court rejected this argument, stating that “retaliation
  14   would cause immediate disruption of the employee’s life and economic injury, . . .
  15   and the outcome of the complaint process is uncertain.” Id. Therefore, “the
  16   existence of an antiretaliation statute and an administrative complaint process [does
  17   not] undermine[] Gentry’s point that fear of retaliation will often deter employees
  18   from individually suing their employers.” Id.
  19         Defendants’ reliance on Truly Nolen of America v. Superior Court, 208
  20   Cal.App.4th 487 (2012) does nothing to bolster their argument. Unlike here, the
  21   court found that there was no evidence supporting the Gentry factors because the
  22   plaintiffs in that case “acknowledged they were aware of their rights under wage
  23   and hour laws, and expressly notified their manager that their rights were being
  24   violated, but Truly Nolen refused to remedy the situation or remind the employees
  25   that they had signed an arbitration agreement.” Id. at 510.
  26         Defendants’ reliance on Borrero v. Travelers Indem. Co., 2010 WL 4054114
  27   (E.D. Cal. Oct. 15, 2010) is similarly unavailing. There, the only evidence before
  28   the court was that “plaintiff’s employment context may have been inherently
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   1   discouraging with respect to employees’ making overtime claims, [Citiation],
   2   plaintiff does not contest defendant’s assertion that she has not been discouraged
   3   from filing other claims.” Id. at *2. Unlike Plaintiff here, the plaintiff in Borrero
   4   simply stated that she was discouraged from claiming overtime, not that she feared
   5   retaliation if she complained of alleged Labor Code violations.
   6         Nothing in Gentry or any other case requires Plaintiff to show he or any other
   7   class member was actually retaliated against to meet the second factor.
   8                3. Plaintiff Was Ill-Informed of His Rights
   9         Plaintiff declared that he did not understand all of his rights under California
  10   law when he was employed by Defendants. See Neims Decl. at ¶ 5. This is
  11   sufficient to meet the third Gentry factor. See Muro, 20 Cal.App.5th at 794-95
  12   (third factor satisfied by employee’s declaration that employee did not know what
  13   employee’s rights were and that employer made no effort to inform employee of
  14   these rights; it is reasonably inferred from this that potential class members also
  15   may not have been informed of their rights). It logically flows from Plaintiff’s
  16   statement that Defendants made no effort to inform him of his rights during his
  17   employment, otherwise he would not be able to declare that he did not understand
  18   all of his rights during his employment.
  19         Defendants argue that they informed class members on their wage and hour
  20   rights, relying on excerpts of their handbook. See Reply at 8:11-25. But their
  21   handbook does nothing to inform employees of their rights under their Labor Code.
  22   See Supp. Martinez Decl. at ¶ 3, Exhibit 2. The handbook does not reference the
  23   Labor Code once. See id. In fact, its policies frequently state, “unless otherwise
  24   provided by state or local law” with no discussion of what state or local law
  25   provides. See id. If anything, Defendants’ handbook just informs class members of
  26   what Defendants’ policies are, not what protections the law provides.
  27         Defendants’ reliance on verbal communications about class members’ rights
  28   to meal and rest periods under Defendants’ policies and posters similarly does
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   1   nothing to challenge Plaintiff’s testimony. The only wage and hour posters
   2   Defendants are required to post are: (1) a poster setting forth California’s minimum
   3   wage rate; (2) the applicable Industrial Welfare Commission Wage Order; and (3) a
   4   payday notice. Even if a class member combed through these posters with a
   5   magnifying glass, they do not contain information about class members rights to,
   6   for example, reimbursement for business expenses. And as the court in Canava
   7   recognized, “California employment law is complex, and many well-educated,
   8   English-speaking individuals do not fully understand their rights.”).
   9                   4. There Are Real World Obstacles to the Vindication of Class
  10                      Members’ Rights
  11             Defendants’ only argument against the fourth Gentry factor is that Plaintiff
  12   failed to show their arbitration agreement is procedurally unconscionable. See
  13   Reply at 9:19-10:11. But “other real world obstacles to the vindication of class
  14   members’ right to overtime pay through individual arbitration” is not so limited.
  15   Gentry, 42 Cal.4th at 463. In fact, in Garrido, the appellate court upheld the trial
  16   court’s finding that the fourth factor was satisfied based on Gentry’s reasoning: “the
  17   trial court relied on Gentry’s reasoning that a ‘requirement that numerous
  18   employees suffering from the same illegal practice each separately prove the
  19   employer’s wrongdoing is an inefficiency that may substantially drive up the costs
  20   of arbitration and diminish the prospect that the overtime laws will be enforced.”
  21   Garrido, 241 Cal.App.4th at 846-47.
  22             There is sufficient evidence that a class proceeding here would be a
  23   significantly more effective way of allowing employees to vindicate their statutory
  24   rights.
  25                B. In the Absence of FAA Preemption, Labor Code § 229 Prohibits
  26                   Arbitration of Claims Arising Under Labor Code §§ 201, 202, 203,
  27                   226, and 266.7
  28             Plaintiff has asserted claims for violations of Labor Code §§ 201, 202, 203,
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   1   226, and 226.7 in the operative complaint. See Docket No. 1-2 (First Amended
   2   Complaint). All of these code sections are contained in Article 1 of the Labor Code
   3   and are actions to enforce the nonpayment of wages, as each is triggered by the
   4   nonpayment of wages, and therefore cannot be compelled to arbitration.
   5         Defendant argues that the scope of Labor Code § 229 is limited to claims
   6   brought on an individual basis, not claims brought on a class action basis. See
   7   Reply at 10:14-20. It fails to cite any authority for this proposition, likely because
   8   there are numerous cases applying Labor Code § 229 to claims brought on a class-
   9   wide basis when not preempted by the FAA. See Hoover v. American Income Life
  10   Ins. Co., 206 Cal.App.4th 1193 (2012); Muller v. Roy Miller Freight Lines, LLC, 34
  11   Cal.App.5th 1056 (2019).
  12         Defendants also argue that Plaintiff’s claims for unpaid wages do not fall
  13   within Section 229’s exemption, citing Lane v. Francis Capital Mgmt. LLC, 224
  14   Cal.App.4th 676 (2014). See Reply at 10:21-11:2. But in Lane, the plaintiff’s third
  15   cause of action was for “unpaid wages.” Lane, 224 Cal.App.4th at 680. The court
  16   held that that cause of action was within the scope of Section 229’s exemption.
  17         Defendants also fail to recognize binding law from the California Supreme
  18   Court in arguing that Plaintiff’s claims for meal and rest periods are not wages. See
  19   Reply at 11:3-10. In fact, the California Supreme Court recently confirmed that the
  20   premium pay for violating the Labor Code’s meal and rest provisions constitutes
  21   “wages.” Naranjo v. Spectrum Security Services, Inc., 13 Cal.5th 93 (2022).
  22   Naranjo was decided after the authorities Defendants rely on, and is dispositive on
  23   this issue. Therefore, Plaintiff’s Labor Code § 226.7 claim is an action to enforce
  24   the provisions of Article 1 of the Labor Code for the collection of due and unpaid
  25   wages.
  26   ///
  27   ///
  28   ///
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   1            C. In the Absence of FAA Preemption, California Law Prohibits
   2               Separating Plaintiff’s PAGA Claim into Individual and Non-
   3               Individual Components
   4         Defendants failed to address Plaintiff arguments regarding the validity of
   5   their representative waiver. See generally, Reply. Because the FAA does not apply
   6   to this dispute, California law applies and Plaintiff’s PAGA action “cannot be
   7   divided into individual and non-individual claims.” Viking River Cruises, Inc. v.
   8   Moriana, 142 S.Ct. 1906, 1922-1925 (2022). Even if such splitting was appropriate
   9   here, the California Supreme Court has held that a plaintiff does not lose standing
  10   to pursue his non-individual representative PAGA claims when his individual
  11   claims are compelled to arbitration. Adolph v. Uber Technologies, Inc., 2023 WL
  12   4553702 (2023).
  13   IV.   CONCLUSION
  14         For the foregoing reasons, Plaintiff respectfully requests that the Court deny
  15   Defendants’ Motion in its entirety.
  16

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       Dated: July 27, 2023                  AEGIS LAW FIRM, PC

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  19                                         By: /s/ Fawn F. Bekam
                                                Fawn F. Bekam
  20                                            Attorneys for Plaintiff Patrick Joseph
  21                                             Neims

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